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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                          MIDDLE DIVISION

KIMBERLIE MICHELLE                    )
DURHAM,                               )
                                      )
      Plaintiff,                      )
                                      )
vs.                                   )     Case No.: 4:16-CV-01604-ACA
                                      )
RURAL/METRO                           )
CORPORATION,                          )
                                      )
      Defendant.                      )


                         MEMORANDUM OPINION

      Plaintiff Kimberlie Durham (“Ms. Durham”) sued her former employer,

Defendant Rural/Metro Corporation (“Rural/Metro”) for discrimination in

violation of Title VII, as amended by the Pregnancy Discrimination Act of 1978

(“PDA”). Ms. Durham’s claim arises out of Rural/Metro’s refusal to assign her a

“light duty” or dispatch position after Ms. Durham’s doctor imposed lifting

restrictions during her pregnancy. Ms. Durham maintains that Rural/Metro

intentionally refused to accommodate her lifting restrictions in the same way it

accommodated other individuals with lifting restrictions because she was pregnant.

      Before the court is Rural/Metro’s motion for summary judgment. (Doc. 40).

The parties have fully briefed the motion. (Docs. 41, 44, 45). For the reasons

explained below, the court GRANTS the motion.
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I.    STANDARD OF REVIEW

      “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). The court views the evidence in the light

most favorable to the non-moving party. Baas v. Fewless, 886 F.3d 1088, 1091

(11th Cir. 2018). “The moving party bears the initial burden of demonstrating the

absence of a genuine dispute of material fact.” FindWhat Inv’r Grp. v.

FindWhat.com, 658 F.3d 1282, 1307 (11th Cir. 2011) (citing Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986)).

II.   BACKGROUND

      On March 2, 2015, Rural/Metro hired Kimberlie Durham to work as an

Emergency Medical Technician (“EMT”) at their Pell City, Alabama location.

(Doc. 1 at 3; Doc. 42-3 at 17). Rural/Metro describes an EMT as someone who

“[r]esponds to emergency and non-emergency requests, provides Basic Life

Support (BLS) as needed[,] and transports sick or injured people . . . .” (Doc. 42-2

at 114). There is a physical component to the job as well, which requires that

EMT’s “frequently lift and/or move up to 20 pounds and occasionally lift and/or

move, with help, up to 100 pounds.” (Doc. 42-2 at 115). According to Ms. Durham

the physical demands of the job as physically lifting stretchers, moving patients,




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restocking supplies, and moving equipment between trucks “[p]retty much all day

long.” (Doc. 42-1 at 17).

      Mike Crowell managed Rural/Metro’s Pell City, Alabama location where

Ms. Durham worked. (Doc. 42-3 at 11, 17). In September 2015, approximately five

months after she was hired, Ms. Durham told Crowell that she was pregnant. (Doc.

42-1at 19; Doc. 42-3at 31). In the same conversation, Ms. Durham also disclosed

to Crowell that her doctor had restricted her from lifting more than fifty pounds

during her pregnancy. (Doc. 42-1 at 20; Doc. 42-3at 31). Crowell told Ms. Durham

that she would not be able “work on the truck” with the lifting restriction. (Doc.

42-1 at 21). Durham agreed. (See Doc. 42-1 at 21; doc. 42-3 at 25).

      As an alternative to working on the truck, Ms. Durham requested that

Crowell “move [her] to either light duty or dispatch.”        (Doc. 42-1 at 21).

Rural/Metro has a written “light duty” policy, formally known as the Transitional

Work Program (“Light Duty Policy”). (Doc. 42-6). Rural/Metro created the Light

Duty Policy “to temporarily modify an employee’s existing position or work

schedule, or provide transitional assignments to accommodate temporary

restrictions identified by an employee’s medical provider.” (Doc. 41, ¶17 (citing

doc. 42-6)). By its terms, the Light Duty Policy only applies to employees who

suffer from a work-related injury or illness. (Doc. 42-6).




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        Consistent with the Light Duty Policy, Crowell informed Ms. Durham that

Rural/Metro only provided “light duty” to employees who suffered on the job

injuries and were on workers’ compensation. (Doc. 42-1 at 22). Thereafter,

Crowell contacted Human Resources about Durham’s pregnancy and lifting

restriction. (Doc. 42-3 at 32). Human Resources confirmed that Ms. Durham was

ineligible for light duty because she was not “workers’ comp” and, as such, did not

qualify for the “Transitional Work Program.” (Doc. 42-3 at 28-29, 37).

        In response to Ms. Durham’s request for a “move” to dispatch, Mr. Crowell

informed Ms. Durham that he would have to “get back with [her].” (Doc. 42-1 at

21). Mr. Crowell then discussed with Human Resources whether there were any

open, off-truck positions. (Doc. 42-3 at 33-34). Mr. Crowell testified that his office

was fully staffed and to put Ms. Durham on dispatch would be “creating an extra

person that I did not need.” (Doc. 42-3 at 36-37). During her deposition, Ms.

Durham also testified that she was not aware of any available light duty positions

at the time she sought accommodation. (Doc. 42-1 at 60). But in a declaration

submitted after her deposition, she recalled open dispatch positions “at the time she

informed Rural/Metro of her lifting restriction.” (Doc. 44 at 10 (citing doc. 44-2,

¶3)).

        Because Ms. Durham was not eligible for FMLA leave due to her short

tenure at Rural/Metro, the only available option was unpaid personal leave. (Doc.


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42-1 at 23, 27). Rural/Metro’s Unpaid Personal Leave Policy “allows employees to

take unpaid personal leave for medical reasons, and is available to employees who

have either exhausted their leave under the FMLA, or are not eligible for FMLA

leave.” (Doc. 41, ¶ 21). Leave is granted for up to ninety days, with the possibility

of an extension of up to an additional ninety days. (Id.). Employees are prohibited

from taking unpaid personal leave “for the purpose pursuing another position,

temporarily trying out new work, or venturing into business.” (Doc. 43-8 at 3).

      On October 6, 2015, Rural/Metro mailed Ms. Durham a letter advising that

she could request a personal leave of absence. (Doc. 41, ¶ 25). The letter instructed

Ms. Durham to complete the leave request and return it to Human Resources. (Id.).

Ms. Durham reviewed the policy and understood its language to prohibit her from

finding another job or filing for unemployment. (Doc. 44 at ¶ 18). Ms. Durham

contacted Human Resources to ask if there were any other options outside of

taking unpaid leave. (Doc. 42-1 at 27). She was advised that unpaid leave was her

only option. (Doc. 42-1 at 27).

      Ms. Durham decided not to sign the unpaid leave paperwork. (Doc. 1 at ¶

38). She was not scheduled to work after September 28, 2015. (Doc. 44 at ¶13).

On November 12, 2015, Ms. Durham filed a Charge of Discrimination with the

Equal Employment Opportunity Commission alleging sex discrimination based on

her pregnancy. (Doc. 43-13). Thereafter, she was issued a Notice of Right to Sue


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and filed the instant action alleging pregnancy discrimination in violation of Title

VII, as amended by the PDA. (Doc. 42-5).

III.   ANALYSIS

       Ms. Durham’s Complaint asserts a single cause of action against

Rural/Metro for pregnancy discrimination under the Pregnancy Discrimination Act

(“PDA”). (Doc. 1 at 8). She claims that she was denied the opportunity to continue

to work at Rural/Metro while she was pregnant because Rural/Metro only allowed

those afflicted with on the job injuries to perform light duty tasks. According to

Ms. Durham, Rural/Metro’s Light Duty Policy treats pregnant workers less

favorably than it treats nonpregnant workers similar in their ability or inability to

work. The court evaluates Ms. Durham’s claim in the light most favorable to her.

       A plaintiff asserting disparate treatment claim under the PDA has the same

burden of proof as one stating a disparate treatment claim based on sex under Title

VII. She must prove that the defendant had discriminatory intent through direct or

circumstantial evidence. Denny v. City of Albany, 247 F.3d 1172, 1182 (11th Cir.

2001). In the absence of direct evidence, “an individual pregnant worker who

seeks to show disparate treatment through indirect evidence may do so through

application of the McDonnell Douglas framework.” Young v. United Parcel

Service, Inc. 135 S. Ct. 1338, 1353 (2015). Under that framework, a plaintiff must

establish a prima facie case of discrimination by “showing actions taken by the


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employer from which one can infer, if such actions remain unexplained, that it is

more likely than not that such actions were based on a discriminatory criterion,” in

this case pregnancy. Young, 135 S. Ct. at 1353 (quoting Furnco Constr. Corp. v.

Waters, 438 U.S. 567, 575 (1978).

      Here, Durham attempts to prove her pregnancy discrimination claim with

circumstantial, rather than direct, evidence of discriminatory intent. (See generally

docs. 1, 44). Accordingly, she carries the initial burden to establish: “(1) she was a

member of a protected class, (2) she was qualified to do the job, (3) she was

subjected to an adverse employment action, and (4) similarly situated employees

outside the protected class were treated differently.” Young, 135 S. Ct. at 1345

(internal citations omitted). It is undisputed that Durham establishes the first two

elements of her prima facie case – that is, as a pregnant woman, she was a member

of a protected class and that she was qualified for her EMT job at Rural/Metro.

(Doc. 42-3 at 18).

      Whether Ms. Durham suffered an adverse employment action is disputed.

Ms. Durham alleges Rural/Metro “subjected [her] to adverse actions by not

allowing her to continue to work, denying her a modified/light duty assignment,

denying her a transfer to dispatch, and terminating and/or constructively

discharging her.” (Doc. 1 at ¶ 8). Rural/Metro contends that the denial of a light

duty assignment and the denial of a transfer to dispatch do not, by definition,


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constitute an adverse employment action. (Doc. 41 at 15-16). Further, Rural/Metro

asserts that Durham voluntarily abandoned her job and, consequently, there was no

adverse employment action when the company “administratively” terminated her.

(Doc. 41 at 16-19). Also, in dispute, are the terms of the unpaid leave policy and

whether it actually precluded Durham from seeking other employment. (Doc. 41, ¶

23; Doc. 44, ¶ 23). Given these disputes, the court cannot determine as a matter of

law that Ms. Durham suffered an adverse employment action. Damon v. Fleming

Supermarkets of Florida, Inc., 196 F.3d 1354, 1361 (11th Cir.1999), cert. denied,

529 U.S. 1109 (2000).

      But even if Ms. Durham sustained her burden of proving an adverse

employment action, she must also provide substantial evidence that Rural/Metro

intentionally treated Ms. Durham less favorably than other persons not so affected

but similar in their ability or inability to work. Young, 135 S. Ct. at 1345. To make

this proof, Ms. Durham points to three employees allowed light/modified duty

assignments when they had lifting restrictions. (Doc. 42-3 at 29). Ms. Durham

contends that “[t]hese men and Ms. Durham were comparable: they all had lifting

restrictions that prohibited them from lifting the amount of weight required for an

EMT.” (Doc. 44 at 23). According to Ms. Durham, “[t]he only difference was that

[her] restriction arose from pregnancy as opposed to an on-the-job injury.” (Id.).




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      Rural/Metro argues these three employees are not valid comparators for Ms.

Durham because she did not suffer an on the job injury. (Doc. 41, p. 20). No one

disputes that Rural/Metro accommodates employees who had lifting restrictions

imposed due to an on the job injury. (Doc. 41 at ¶¶ 11, 17; Doc. 44 at ¶ 7). These

accommodations are made pursuant to the Light Duty Policy. (Doc. 41, ¶ 17).

Rural/Metro contends that Ms. Durham must offer substantial evidence of

employees placed on light duty assignment who were injured off the job in order to

survive summary judgment. This court agrees.

      The PDA does not require an employer to provide special accommodations

to its pregnant employees; instead, the PDA only ensures that pregnant employees

are given the same opportunities and benefits as nonpregnant employees who are

similarly limited in their ability to work. See Spivey v. Beverly Enters., Inc., 196

F.3d 1309, 1312 (11th Cir.1999) (“The PDA does not require that employers give

preferential treatment to pregnant employees.”), abrogated, in part, on other

grounds by Young, 135 S. Ct. 1338 (2015). If an employee’s pregnancy prevents

her from fulfilling the duties of her position, her employer is not obligated to treat

her any differently than it would treat a nonpregnant employee who is in the same

position. See Armindo v. Padlocker, Inc., 209 F.3d 1319, 1320 (11th Cir.2000)

(“[T]he Pregnancy Discrimination Act ... is not violated by an employer who fires

an employee for excessive absences, unless the employer overlooks the


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comparable absences of non-pregnant employees.”); see also Geier v. Medtronic,

Inc., 99 F.3d 238, 242 (7th Cir.1996) (“[T]he Pregnancy Discrimination Act does

not require that employers make accommodations for their pregnant workers;

‘employers can treat pregnant women as badly as they treat similarly affected but

nonpregnant employees.’” (quoting Troupe v. May Dep’t Stores Co., 20 F.3d 734,

738 (7th Cir.1994) (alterations omitted)).

       Unlike the plaintiff in Young, Ms. Durham does not tender any evidence of

non-pregnant employees with lifting restrictions assigned to light duty when they

were injured outside of work or otherwise unable to perform their job functions.

The Rural/Metro policy accommodates one discrete group of employees, not

several different types of disabilities where “many” found accommodation by UPS.

(Doc. 42-3 at 28-29); see also Young at 135 S. Ct. at 1344 (noting that UPS’ policy

“accommodates      many,   but   not   all    workers   with   nonpregnancy-related

disabilities”).   And, in Young there was evidence that “[s]everal employees

received accommodations following injury, where the record is unclear as to

whether the injury was incurred on or off the job” and other evidence that “[s]ome

employees were accommodated despite the fact their disabilities had been incurred

off the job.” Id. at 1347. In the absence of similar evidence, Ms. Durham cannot

establish a genuine dispute as to whether Rural/Metro provided more favorable

treatment to at least some employees whose situation cannot reasonably be


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distinguished from hers. See Young, 135 S. Ct. at 1355. To hold otherwise, would

afford Durham “an unconditional most-favored-nation status” and run afoul of

congressional intent as discerned in Young. Young, 135 S. Ct. at 1350.

IV.   CONCLUSION

      For the reasons stated above, the court finds that there is no genuine issue of

material fact and Rural/Metro is entitled to judgment as a matter of law.

Accordingly, the court GRANTS Rural/Metro’s motion for summary judgment.

(Doc. 40). The court will enter a separate order consistent with this memorandum

opinion.

      DONE and ORDERED this October 9, 2018.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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